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                   DISTRICT COURT OF THE VIRGIN ISLANDS

                               DIVISION OF ST. CROIX
                                          5
UNITED STATES OF AMERICA,                 5
                                          5
                        Plaintiff,        5             2008-CR-0019
      v.                                  5
                                          5
 BRYAN GLASGOW and JULIAN                 5
GLASGOW,                                  5
                                          5
                        Defendants.       5
__________________________________________5



TO:   Rhonda Williams-Henry, Esq., AUSA
      Emile A. Henderson, III, Esq.
      Michael A. Joseph, Esq.



      ORDER GRANTING DEFENDANT BRYAN GLASGOW’S MOTION FOR
                          CONTINUANCE

      THIS MATTER came before the Court for arraignment on September 19, 2008. After

arraignment, counsel for Julian Glasgow moved for severance and counsel for Defendant

Bryan Glasgow moved for a continuance. The government was represented by Rhonda

Willliams-Henry, Esq., AUSA. Emile A. Henderson, III, Esq., appeared on behalf of

Defendant Bryan Glasgow; and, Michael A. Joseph, Esq., appeared on behalf of Defendant

Julian Glasgow, and joined in the motion for continuance.

      For the reasons stated herein, the time to try this case as against both Defendants is

extended up to and including the date of jury selection.
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       Since this case was indicted, the parties have been involved in discovery and other

pretrial discussions in the hopes of resolving this case. While the Speedy Trial Act requires

that a defendant be tried within seventy days of indictment, the Court specifically finds

that extending this period would be in the best interest of justice for several reasons. First,

Defendant Bryan Glasgow requests a continuance to determine whether he will enter a plea

or provide testimony on behalf of his co-Defendant on the motion for severance. Second,

the government filed a superseding indictment on September 16, 2008. Trial is scheduled

to commence September 19, 2008; consequently, in the absence of a continuance, trial

would commence less than thirty (30) days after Defendants appearance in violation of 18

U.S.C. § 3161(c)(2). Third, without an extension, the parties would be denied reasonable

time to explore plea negotiations and to prepare effectively for trial.

       Consistent with these concerns, the Unites States Court of Appeals for the Third

Circuit has recognized that “whether or not a case is ‘unusual’ or ‘complex,’ an ends of

justice continuance may in appropriate circumstances be granted.” United States v. Fields,

39 F.3d 439, 444 (3d Cir. 1994) (citing United States v. Dota, 33 F.3d 1179 (9th Cir. 1994) (“An

ends of justice continuance may be justified on grounds that one side needs more time to

prepare for trial . . . even though a case is not complex”)); see also United States v. Brooks, 697

F.2d 517, 522 (3d Cir. 1982), cert. denied, 460 U.S. 1072 (1983) (no abuse of discretion where
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district court found that multiple count, multiple defendant “case was complex and

required additional time for adequate preparation”); United States v. Lattany, 982 F.2d 866,

883 (3d Cir. 1992) (“district court did not abuse its discretion [by delaying trial] to give

counsel . . . opportunity to decid[e] upon and prepar[e] an appropriate defense”).

       Accordingly, Defendant Bryan Glasgow’s motion for continuance is GRANTED,

and the time beginning from the date of this order granting an extension through the date

of jury selection shall be excluded in computing the time within which a trial must be

initiated pursuant to 18 U.S.C. § 3161. This matter is set for calendar call on October 15,

2008, at 9:00 a.m., at which time the jury selection date will be determined.

       Defendant Julian Glasgow shall file his written motion for severance on or before

September 29, 2008; the government shall file any response thereto on or before October

10, 2008; and any reply shall be filed on or before October 15, 2008. A hearing upon said

motion is scheduled for October 16, 2008, at 9:00 a.m.

                                                    ENTER:



Dated: September 19, 2008                                         /s/
                                                    GEORGE W. CANNON, JR.
                                                    U.S. MAGISTRATE JUDGE
